Case 2:05-cr-20200-PM-KK   Document 180   Filed 09/26/07   Page 1 of 6 PageID #:
                                    566
Case 2:05-cr-20200-PM-KK   Document 180   Filed 09/26/07   Page 2 of 6 PageID #:
                                    567
Case 2:05-cr-20200-PM-KK   Document 180   Filed 09/26/07   Page 3 of 6 PageID #:
                                    568
Case 2:05-cr-20200-PM-KK   Document 180   Filed 09/26/07   Page 4 of 6 PageID #:
                                    569
Case 2:05-cr-20200-PM-KK   Document 180   Filed 09/26/07   Page 5 of 6 PageID #:
                                    570
Case 2:05-cr-20200-PM-KK   Document 180   Filed 09/26/07   Page 6 of 6 PageID #:
                                    571
